Freedom of Information/Privacy Act Request

Department of Homeland Security
U.S. Citizenship and Immigration Services

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USCIS

Form G-639
OMB No. 1615-0102
Expires 06/30/2022

NOTE: Use of this form is optional. USCIS accepts any
written request, regardless of format, provided that the request

complies with
the Privacy Ac
have the appro

the applicable requirements under the FOIA and
t. However, using this form can help ensure we
priate information to handle your request.

> START HERE - Type or print in black ink.

Part 1. Type of Request

Select only one box.

NOTE: If you are filing this request on behalf of another
individual, respond as it would apply to that individual.

l.a. [_] Freedom of Information Act (FOIA)/Privacy Act (PA)
1.b. [_] Amendment of Record (PA only)

Part 2. Requestor Information

1. Are you

the Subject of Record for this request?

[]Yes []No

If you answered "Yes" to Item Number 1., skip to Part 3. If

you answered
requested in P:

"No" to Item Number 1., provide the information
art 2., Item Numbers 2.a. - 3.c.

Te Role to the Subject of Record

Select your re

2.a. [_] AnJ

2.b. [| An]

resentative role to the Subject of the Record.
Attorney
Accredited Representative of a Qualified

Organization

2c. [] AF

amily Member

Select the appropriate box to provide further information

regarding your
3.a. [_] Iam

representative role to the Subject of the Record.

requesting information on behalf of my child or

a minor I have guardianship over.

3.b. [-] Iam
wha

3.c. [-] Lam
wha

requesting information on behalf of someone
is deceased.

requesting information on behalf of someone for
m I have power of attorney.

Requestor's Full Name

4.a. Family Name

(Last Name)

Given Name
(First Name)

4.c._ Middle Name

4.b.

Requestor's Mailing Address

5.a. In Care Of Name (if any)

5.b. Street Number! |
and Name

sc. [] Apt. []Ste. [Fir |

§.d. City or Town

5.e. State 5.f. ZIP Code

5.g. Province

5.h. Postal Code

5.i. Country

Requestor's Contact Information

6. Requestor's Daytime Telephone Number

7.  Requestor's Mobile Telephone Number (if any)

8. | Requestor's Email Address (if any)

Requestor's Certification

By my signature, I consent to pay all costs incurred for search,
duplication, and review of documents up to $25. (See the What
Is the Filing Fee section in the Form G-639 Instructions for
more information.)

Da.

wp

9.b. Date of Signature (mm/dd/yyyy)

Requestor's Signature

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Part 3. Description of Records Requested

While you are not required to respond to every Item Number in
Part 3., failure to provide complete and specific information may
delay processing of your request or prevent U.S. Citizenship and
Immigration Services (USCIS) from locating the records or
information requested.

1. State the purpose of your request.

NOTE:| This field is optional. However, providing this
oe may assist USCIS in locating the records and
information needed to respond to your request.

Full Name of the Subject of Record

2.a. Family Name

(Last Name)
2.b. Given Nan
(First Name)

2.c. Middle Name

Other Names Used by the Subject of Record (if any)

Provide all other names the Subject of Record has ever used,
including aliases, maiden name, and nicknames. If you need
extra space to complete this section, use the space provided in
Part 6. Additional Information.

3.a. Family Name

(Last Name)
3.b. Given Nane
(First Name)

3.c. Middle Name

4.a. Family Name

(Last Name)
4.b. Given Name |
(First Name)

4.c. Middle Name

Full Name of the Subject of Record at Time of
Entry into the United States

5.a. Family Name

(Last Name)
5.b. Given Nae
(First Name)

5.c. Middle Name

Other Information About the Subject of Record

6.a. Form I-94 Arrival-Departure Record Number
>

6.b. Passport or Travel Document Number

7. Alien Registration Number (A-Number) (if any)
> A-

8. USCIS Online Account Number (if any)
>

9. Application or Petition Receipt Number
>|

Information About Family Members that May
Appear on Requested Records

For example, provide the requested information about a spouse
or children. If you need extra space to complete this section,
use the space provided in Part 6. Additional Information.

Family Member 1

10.a. Family Name
(Last Name)

10.b. Given Name |
(First Name)

10.c. Middle Name | |

1]. Relationship

Family Member 2

12.a. Family Name
‘Last Name)

12.b. Given Name
(First Name)

12.c. Middle Name |

13. Relationship

Parents’ Names for the Subject of Record

Father

14.a, Family Name
(Last Name)

14.b. Given Name
(First Name)

14.c. Middle Name

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Part 3. Description of Records Requested
(continued)

Mother

15.a. Family Name
(Last Name)

15.b. Given Name
(First Name)

15.c. Middle Name

15.d. Maiden Name (if applicable)

16. Describe the records you are seeking. If you need
ee space, use the space provided in Part 6.
Additional Information.

Part 4. Verification of Identity and Subject of
Record Consent

Provide the information requested in Item Numbers 1.a. - 7.

In addition, the Subject of Record MUST sign in Item
Numbers 8.a.|- 8.c.

Full Name of the Subject of Record

l.a. Family Name

(Last Name)
L.b. Given Nine |
(First Name)

lc. Middle Name |

Other Information for the Subject of Record

2. Date of Birth (mm/dd/yyyy)

3. Country of Birth

Mailing Address for the Subject of Record

4.a. In Care Of Name (if any)
|

4.b. Street Number
and Name

4.c. [_] Apt. [[] Ste. ([_] Flr. |

4.d. City or Town

4.e. State [| 4.f. ZIP Code

4.g. Province

4.h. Postal Code |

4.i. Country

Contact Information for the Subject of Record

NOTE: Providing this information is optional.

5. Daytime Telephone Number

6. Mobile Telephone Number (if any)

7. Email Address (if any)

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Part 4. ee of Identity and Subject of
Record Consent (continued)

Signature af the Subject of Record

Select only one box.

NOTE: The Subject of Record MUST provide a signature in
Item Number|8.a. OR Item Number 8.b. If the Subject of
Record is deceased, select Item Number 8.c. and attach an
obituary, death certificate, or other proof of death.

8.a. [_] Notarized Affidavit of Identity

IMPORTANT: Do NOT sign and date below until
the notary public provides instructions to you.

By my signature, I consent to USCIS releasing the
requested records to the requestor (if applicable)
named in Part 2. If filing this request on my own
behalf, I also consent to pay all costs incurred for
search, duplication, and review of documents up to
$25) (See the What Is the Filing Fee section in the
Form G-639 Instructions for more information.)

Signature of Subject of Record

Date of Signature (mm/dd/yyyy)

Subscribed and sworn to before me on this

day of in the year

Daytime Telephone Number

Signature of Notary

My Commission Expires on (mm/dd/yyyy)

8.b. [ ] Declaration Under Penalty of Perjury

By my signature, I consent to USCIS releasing the
requested records to the requestor (if applicable)
named in Part 2. If filing this request on my own
behalf, I also consent to pay all costs incurred for
search, duplication, and review of documents up to
$25. (See the What Is the Filing Fee section in the
Form G-639 Instructions for more information.)

I certify, swear, or affirm, under penalty of perjury
under the laws of the United States of America, that
the information in this request is complete, true, and
correct.

Signature of Subject of Record

Date of Signature (mm/dd/yyyy)
8.c. [| Deceased Subject of Record

Part 5. Processing Information

1. Indicate if any of these circumstances apply to your
request (Select all that apply).

[_] Circumstances in which the lack of expedited
treatment could reasonably be expected to pose an
imminent threat to the life or physical safety of the
individual.

[_] An urgency to inform the public about an actual or
alleged Federal government activity, if made by a
person primarily engaged in disseminating
information.

[_] The loss of substantial due process rights.
J

A matter of widespread and exceptional media
interest in which there exists possible questions about
the government's integrity which affects public
confidence.

Submit a certified, detailed statement regarding the basis for
your request with your Form G-639,

2. Do you have a pending Immigration Court hearing date?
[]Yes [_]No

If you answered “Yes” to [tem Number 2., submit a copy of
one of the following documents with your Form G-639: 1-862,
Notice to Appear; Form I-122, Order to Show Cause; Form
[-863, Note of Referral to Immigration Judge, or submit a
written notice of continuation of a future scheduled hearing
before the immigration judge.

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Part 6. Additional Information

within this request, use the space below. If you need more
space than what is provided, you may make copies of this page
to complete and file with this request or attach a separate sheet
of paper. Type or print the Subject of Record's name and his or
her A-Number (if any) at the top of each sheet; indicate the
Page Number, Part Number, and Item Number to which
your answer refers; and sign and date each sheet.

If you need ve space to provide any additional information

l.a. Subject of Record's Family Name (Last Name)

1.b. Subject of Record's Given Name (First Name)

l.c. Subject of Record's Middle Name

|

2. Subject of Record's A-Number (if any)
> A-

3.a. Page Number 3.b. Part Number 3.c. Item Number

3.d.

4.a. Page Number 4.b. Part Number 4.¢. Item Number

4.d,

S.a. Page Number 5.b. Part Number 5.e. Item Number

6.a. Page Number 6.b. PartNumber  6.c. Item Number

6.d.

7.b. Part Number  7.c.

} | |

7.a. Page Number Item Number

7d.

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